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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

          Plaintiffs,

v.
                                                           Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

          Defendants.




             PLAINTIFFS’ CONSENT MOTION TO FILE VOLUMINOUS EXHIBITS
                                  ON HARD-DRIVE

             Plaintiffs respectfully move this Court for an order permitting them to file certain exhibits

     to their Oppositions to Cox’s Motion for Judgment as a Matter of Law (ECF No. 681) and Motion

     for Remittitur or, in the Alternative, a New Trial under Federal Rule of Civil Procedure 59(a) (ECF

     No. 683) on a hard-drive, rather than through the Court’s Electronic Court Filing system (“ECF”).

     In support, Plaintiffs state as follows:

             1) Plaintiffs intend to file their Oppositions to the Motions referenced above on or before

                 February 28, 2020, including many large exhibits that exceed the file size that can be

                 uploaded via ECF.

             2) Because of the number of exhibits, and because certain exhibits are too large to file via

                 ECF, it is more practical to file the exhibits with the Court on a hard-drive, rather than

                 through the ECF system.

             3) Defendants consent to Plaintiffs’ request made herein.

             For the reasons stated above, Plaintiffs ask this Court for entry of the attached order.
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  Dated February 25, 2020                     Respectfully Submitted,


                                              /s/ Scott A. Zebrak /
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